                                                                                               Case 1:24-cv-00941-JKB Document 392-5 Filed 10/09/24 Page 1 of 1
Schedule A-5                                                                                                                                         Kennedys




              Container no.   Master / Ocean B/L         Cargo Description         Insurer or Agent                        Insured                         Invoice value     Freight cost     Currency                   MBL shipper      MBL consignee           Voyage    Voyage discharge
                               No. / Waybill No.                                                                                                          (May Change)      (May Change)                                                                         loadport         port
 Category



    1       TRHU2607271       ZIMUNYC9072184       Household goods                Travelers           Allied International Moving Services (Sirva)              17,246.50           1,641.00 USD         Shipco Transport              Breea Noelle Gould     Baltimore     Kolkata, India

                                                   Copper/aluminuim/heavy metal
    1       TGHU0667095
                              MAEU236246749        scrap                          Munich Re           Steel Bro Int                                             31,339.15                   USD          Steel Bro Int                 Shastri Steels         Baltimore     Pipapav, India



    1
            MSMU6627946       MEDUVD676692         Rough milled timber            Canopius            Cut Rite Lumber Limited                                   62,915.60                   USD          King City Forwarding          Qingdao Herson Supply Baltimore      Qingdao, China


    1
            FDCU0292155       MEDUVD676693         Rough milled timber            Canopius            Cut Rite Lumber Limited                                   45,500.80           1,460.22 USD         King City Forwarding          Qingdao Herson Supply Baltimore      Qingdao, China

    1       JLXU7025042       ZIMUNYC9072345       Yellow Soybeans                Beazley             The Andersons                                                                                      The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
    1       SEGU5203397                            Yellow Soybeans                Beazley             The Andersons                                                                                      The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
    1       TCKU7153846                            Yellow Soybeans                Beazley             The Andersons                                                                                      The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
    1       TCNU2757149                            Yellow Soybeans                Beazley             The Andersons                                                                                      The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
    1       TCNU2760899                            Yellow Soybeans                Beazley             The Andersons                                                                                      The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
    1       TCNU3690190                            Yellow Soybeans                Beazley             The Andersons                                                                                      The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
    1       TEMU7785652                            Yellow Soybeans                Beazley             The Andersons                                             92,287.85                   USD          The Andersons                                         Baltimore
                                                                                                                                                                                                                                       Jiangsu Cereals Oils & Foodstuffs    Qingdao, China
